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                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION


IN RE:
                                                          Case No. 19-64835-pmb
BONNIE ROSE,                                              Chapter 13

         Debtor.


BONNIE ROSE,

         Plaintiff,
v.

WVMF FUNDING LLC, RUBIN LUBLIN,
LLC, AND MELISSA DAVEY, CHAPTER                           Adversary No. 19-05327-pmb
13 TRUSTEE,

         Defendants.


            WVMF FUNDING, LLC AND RUBIN LUBLIN, LLC’S
      MEMORANDUM OF LAW IN SUPPORT OF THEIR MOTION TO DISMISS

         COMES NOW, WVFM Funding, LLC and Rubin Lublin, LLC (“WVMF” and “Rubin

Lublin” individually, “Defendants” collectively), named defendants in the above styled action,

and hereby file this Memorandum of Law in Support of their Motion to Dismiss pursuant to Fed.

R. Civ. P. 12(b)(1), respectfully showing this Honorable Court as follows:

                      STATEMENT OF FACTS AND PROCEDURAL HISTORY

         Plaintiff Bonnie Rose (“Debtor” or “Plaintiff”) is a serial bankruptcy filer. The

underlying bankruptcy case – filed on September 18, 2019 – is the third that she has filed since

December 4, 2018. See Case Nos. 18-70420, 19-57109 (Bankr. N.D. Ga.). Just like these

previous cases, the most recent case was dismissed shortly after it was filed, on October 4, 2019.

See [Bk. Doc. 15]. Because of the numerous filings, WVMF filed a motion in the main


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bankruptcy on September 9, 2019, seeking an order that the automatic stay was not in effect

because the Debtor had two previous dismissals in the prior year. [Bk. Doc. 8]. The motion

included a copy of the subject security deed and full chain of assignments ending with WVFM

related to the property at 3019 Saint Andrews Court, Jonesboro, GA 30236 (the “Property”). [Bk.

Doc. 8-2]. The motion was granted on September 23, 2019. [Bk. Doc. 13]. This concluded

WVFM’s involvement in the main bankruptcy case. Shortly thereafter, on October 4, 2019, this

Court dismissed the main bankruptcy case for failure of the Debtor to pay the filing fee. [Bk.

Doc. 15].

       Despite the main bankruptcy case being dismissed, the Debtor filed the instant adversary

proceeding on October 28, 2019. The crux of the allegations in the Complaint is that WVFM is

not a secured creditor because “the chain [of assignments] of is [sic] broken and should be void

on its face.” [AP Doc. 1] at ¶ 4. The only claim in the Complaint is for a declaratory judgment

that WVFM does not have a secured interest in the Property. Id. at ¶¶ 32-37. However, this Court

cannot reach the merits of this claim because it lacks subject matter jurisdiction.

                      ARGUMENT AND CITATION OF AUTHORITY

A.     STANDARD OF REVIEW

       A motion to dismiss for lack of subject matter jurisdiction under Rule 12(b)(1) can take

two forms – a facial attack and factual attack. Lawrence v. Dunbar, 919 F.2d 1525, 1528-29

(11th Cir. 1990). A Facial Attack on the Complaint merely requires that the court look and see if

the Plaintiff has “sufficiently alleged a basis of subject matter jurisdiction” and thereafter the

allegations in the Complaint are taken as true for the purposes of the Motion. Id. (quoting

Menchaca v. Chrysler Credit Corp., 613 F.2d 507, 511 (5th Cir. 1980)). However, in a Factual

Attack, “no presumptive truthfulness attaches to plaintiff's allegations, and the existence of



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disputed material facts will not preclude the trial court from evaluating for itself the merits of

jurisdictional claims” because, the issue is the trial court’s jurisdiction and “there is substantial

authority that the trial court is free to weigh the evidence and satisfy itself as to the existence of

its power to hear the case.” Id. (quoting Williamson v. Tucker, 645 F.2d 404, 412-13 (5th Cir.

1981)). In evaluating an attack on subject matter jurisdiction, “[t]he plaintiff has the burden of

proving the Court’s subject matter jurisdiction by a preponderance of the evidence.” Kennedy v.

Miss. Dept. of Revenue (In re Kennedy), 529 B.R. 345, 349 (Bankr. N.D. Ga. 2015).

B.     THIS COURT LACKS SUBJECT MATTER JURISDICTION

       Bankruptcy courts are courts of limited jurisdiction under 28 U.S.C. §§ 1334(b) and

157(a). In re Kennedy, 529 B.R. 345, 349 (Bankr. N.D. Ga. 2015). Under 28 U.S.C. § 1334(b),

bankruptcy jurisdiction extends to civil proceedings arising under Title 11 or proceedings arising

in or related to a case under Title 11. During the administration of a bankruptcy estate,

bankruptcy courts may hear two types of proceedings: 1) core proceedings, cases arising under

Title 11 or arising in a Title 11 Case; and 2) non-core proceedings, non-bankruptcy claims

related to a Title 11 Case and affecting administration of the estate. Wortley v. Bakst, 844 F.3d

1313, 1317–18 (11th Cir. 2017); 28 U.S.C. § 157. The Bankruptcy Court's jurisdiction must be

based on the “arising under,” “arising in,” or “related to” language of §§ 1334(b) and 157(a).

Celotex Corp. v. Edwards, 514 U.S. 300, 307 (1995). “[I]f a case does not fit in either category,

the bankruptcy court cannot hear the case at all.” Wortley v. Bakst, 844 F.3d 1313, 1317–18

(11th Cir. 2017). “The plaintiff has the burden of proving the Court's subject matter jurisdiction

by a preponderance of the evidence.” In re Kennedy, 529 B.R. 345, 349 (Bankr. N.D. Ga. 2015).

       Plaintiff asserts that this case is a core proceeding. [AP Doc. 1] at ¶ 3. “Core proceedings

are narrow in scope, and include only those cases that implicate the property of the bankruptcy



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estate and either invoke substantive rights created by federal bankruptcy law or that exist

exclusively in the bankruptcy context.” Wortley v. Bakst, 844 F.3d 1313, 1318 (11th Cir. 2017);

citing Cont'l Natl. Bank v. Sanchez (In re Toledo), 170 F.3d 1340, 1347–48 (11th Cir. 1999).

However, the Plaintiff’s bankruptcy was dismissed before this adversary was filed. Logically,

these claims cannot implicate property of the estate or exist exclusively in the bankruptcy

context, because there is no active bankruptcy. Moreover, the Plaintiff’s request for a declaratory

judgment does not arise under Title 11 but is instead based on state law property rights. See In re

Terry, 245 B.R. 422, 425 (Bankr. N.D. Ga. 2000) (“[P]roperty rights and interests are defined by

state law principles.”). Therefore, the claims do not arise in or relate to a case under Title 11,

because there is no bankruptcy. Further, none of the claims invoke substantive rights created by

Title 11. See [Doc. 1]. Thus, this Court is without subject matter jurisdiction and the case must

be dismissed.

                                        CONCLUSION

       Based on the foregoing, WVMF and Rubin Lublin respectfully request that this Court

grant its Motion to Dismiss.

       Respectfully submitted, this 27th day of November 2018.

                                                     /s/ Bret J. Chaness
                                                     BRET J. CHANESS (GA Bar No. 720572)
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                                 CERTIFICATE OF SERVICE

       I hereby certify that I have, this 27th day of November 2019, caused a true and correct

copy of the within and foregoing to be served via U.S. First Class mail to the following:

Bonnie Rose
3019 Saint Andrews Court
Jonesboro, GA 30236


                                                     /s/ Bret J. Chaness
                                                     BRET J. CHANESS (GA Bar No. 720572)




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